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8                                UNITED STATES DISTRICT COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

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11   IN RE HOLOGENIX, LLC,            )             Case Nos.     CV 20-10109 FMO
                                      )                           CV 20-10479 FMO
12                   Debtor,          )
     ________________________________ )                    BK Case No. 20-13849 BR
13                                    )
     MULTIPLE ENERGY TECHNOLOGIES, )
14   LLC,                             )
                                      )
15                   Appellant,       )
                                      )             JUDGMENT
16              v.                    )
                                      )
17   HOLOGENIX, LLC,                  )
                                      )
18                   Appellee.        )
                                      )
19                                    )

20         Pursuant to the Court’s Order re: Bankruptcy Appeal, filed contemporaneously with the filing

21   of this Judgment, IT IS ADJUDGED that the Bankruptcy Court’s Dismissal, Findings, and

22   Confirmation Orders, (Bankruptcy Document Nos. 246, 247, 248), are remanded for further

23   proceedings consistent with the Order re: Bankruptcy Appeal.

24   Dated this 27th day of September, 2021.

25                                                                          /s/
                                                                   Fernando M. Olguin
26                                                            United States District Judge

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